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IN THE UNITED sTATEs DIsTRICT COURT
FoR THE wESTERN DISTRICT oF TENNESSEE 95 list -1.» tit 91 95
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MARTiNo TAYLOR, §iD‘g;-.- 1 t
Plaintiff,
v. No. 04-2722 B

UNITED PARCEL SERVICE, INC.,

Defendant.

 

ORDER DENYING PLAINTIFF'S MOTION TO ALTER OR AMEND ORDER

 

Before the Court is the motion of the Plaintiff, Martino Taylor, to alter or amend its order
affirming the order of the magistrate judge denying Taylor's motion for leave to amend his complaint
to request a jury trial. The motion is brought pursuant to Rule 59(e) of the Federal Rules of Civil
Procedure, which permits the filing of motions to alter or amend within ten days after entry of
judgment.

The purpose of a motion to alter or amend judgment under Fed. R. Civ. P. 59(e) is
to have the court reconsider matters properly encompassed in a decision on the
merits. This rule gives the district court the power to rectify its own mistakes . . .
Generally, three situations justify a district court altering or amending its judgment
( l) to accommodate an intervening change in controlling law; (2) to account for new
evidence not available at trial; or (3) to correct a clear error of law or to prevent a
manifest injustice lt is not designed to give an unhappy litigant an opportunity to
relitigate matters already decided, nor is it a substitute for appeal.

Sherwood v. Roval Ins. Co. of Am.. 290 F.Supp.Zd 856, 858 (N.D. Ohio 2003) (internal citations
and quotation marks omitted). The Plaintifi‘s motion does not allege any of these circumstances and,
therefore, is not, in the Court's view, a proper Rule 59(e) motion. Nonetheless, in this instance the

Court will consider the merits of the Plaintift‘s request

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The Plaintiff seeks amendment of the Court's order to allow permission to appeal pursuant

to 28 U.S.C. § 1292(b). The statute provides that

[w]hen a district judge, in making in a civil action an order not otherwise appealable

under this section, shall be of the opinion that such order involves a controlling

question of law as to Which there is substantial ground for difference of opinion and

that an immediate appeal from the order may materially advance the ultimate

termination of the litigation, he shall so state in writing in such order. . . .

28 U.S.C. § 1292(b); In re City of Memphis, 293 F.3d 345, 350 (6th Cir. 2002). Unless all the
criteria are satisfied, certification should not be permitted Ahrenholz v. Board ofTrustees of Univ.
M, 219 F.3d 674, 676 (7th Cir. 2000). "Review under § 1292(b) is granted sparingly and only
in exceptional cases." Cig[ of Memphis, 293 F.3d at 350. The burden of demonstrating that
certification is warranted, which has been described as a heavy one, is borne by the party moving
therefor. §me_e White v. Nix, 43 F.3d 374, 376 (Sth Cir. 1994).

The Plaintiff asks for certification as to two questions: (1) whether the Court abused its
discretion in failing to grant him a jury trial even though at the time he was not represented by
counsel and (2) whether the Court abused its discretion in affirming "the Magistrate[ Judge's] ruling
that Plaintiff‘s Courisel should have immediately cured any defects in the pleadings soon after filing
the notice of appearance instead of waiting until just before the deadline for amending the pleadings
as found in the Court's scheduling order." (Mem. in Supp. of Pl.'s Mot. to Alter or Amend Order
Affirming Magistrates [sic] Order Denying PI.'s Mot. for Leave to Am. Compl. to Request Jury Trial
to Allow Permission to Appeal Pursuant to 28 U.S.C. § `1292(b) at 4.)

Taylor concedes, therefore, that his request involves a decision in which the Court acted in

its discretion. As the Eighth Circuit noted in White, "[a] legal question of the type referred to in §

1292(b) contrasts with a matter for the discretion of the trial court." White, 43 F.3d at 377 (citation

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and internal quotation marks omitted) (emphasis supplied). In White, as is the case here, the issue

 

presented was "merely whether the district court abused its discretion“ in entering an order. Where
the district court's ruling is within its discretion, "an allegation of abuse [of that discretion] does not
create a legal issue." 1415 g _sto_ City of Memphis, 293 F.3d 351 ("[a] legal question ofthe type
envisioned in § 1292(b), however, generally does not include matters within the discretion of the trial
court."). Thus, as the Court's order did not involve a controlling legal issue, certification under §
1292(b) is not appropriate

For the reasons set forth herein, the motion is DENIED.

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J. ANIEL a EN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
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Honorable .l. Breen
US DISTRICT COURT

